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           In the United States Court of Federal Claims
                                          No. 20-852C
                                    (Filed: October 6, 2020)

                                              )
 AULTCARE INSURANCE                           )
 COMPANY,                                     )
                                              )
                      Plaintiff,              )
                                              )
 v.                                           )
                                              )
 UNITED STATES,                               )
                                              )
                       Defendant.             )
                                              )

                                            ORDER


        Pursuant to the Stipulation for Entry of Judgment (ECF 6) filed by the parties on October
5, 2020, the Clerk is DIRECTED to enter judgment for the plaintiff on Count I of the Complaint
in the amount of $683,507.12 in full satisfaction of the plaintiff’s claim against the defendant.

       Counts II and III of the Complaint are DISMISSED with prejudice.

       The Clerk is DIRECTED to close the case upon entry of the final judgment.

       It is so ORDERED.


                                                               s/ Richard A. Hertling
                                                               Richard A. Hertling
                                                               Judge
